
FRANK, Chief Judge.
In this appeal brought pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), we have found no meritorious issue arising from the defendant’s trial and conviction. We note, however, that Mascorro was ordered to pay costs for which no statutory basis has been referenced. Therefore, under the authority of Reyes v. State, 20 Fla.L.Weekly D467, — So.2d — [1995 WL 65502] (Fla. 2d DCA February 15, 1995), and Sutton v. State, 635 So.2d 1032 (Fla. 2d DCA 1994), the costs amounting to $1,375.00 must be stricken. On remand, the state shall be given an opportunity to seek their reimposition.
Costs stricken; conviction affirmed; remanded.
ALTENBERND and LAZZARA, JJ., concur.
